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17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21
           Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    respectfully moves the Court to seal portions of the privilege log entries submitted as an exhibit to

3    Apple’s Objections to certain of the Special Masters’ privilege determinations issued on April 14, 2025,

4    regarding Apple’s production of re-reviewed and privileged documents (“Objections”), which was filed

5    under section 4 of the Joint Stipulation and Order Approving Privilege Re-Review Protocol (Dkt. 1092)

6    (the “Protocol”). The exhibit contains information sealable under controlling law and Local Rule 79-5.

7    Specifically, the exhibit contains excerpts from Apple’s privilege log prepared for the Special Masters

8    conducting evaluation of the privilege claims stemming from Apple’s re-review. The privilege log is

9    required to be filed under the terms of the Protocol, but contains competitively sensitive, non-public
10   information regarding Apple’s engagement of certain outside legal counsel and personally identifiable
11   information in the form of email addresses of Apple employees. Apple’s proposed redactions of that
12   information are highlighted in yellow in the un-redacted version of the exhibit that Apple is filing under
13   seal and are itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).
14                                                LEGAL STANDARD
15          “The court may, for good cause, issue an order to protect a party or person from annoyance,
16   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of
17   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials
18   for many types of information, including, but not limited to, trade secrets or other confidential research,
19   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir.
20   2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1178
21   (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing Nixon
22   v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216, at *1
23   (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the
24   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)
25   (granting request to seal “internal product codenames” and noting that a prior request for the same had
26   also been granted). Courts often find good cause exists to seal personally identifiable information. See,
27   e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion
28   to file under seal personally identifiable information, including email addresses and telephone numbers


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1    of current and former employees).

2           Although a party must show compelling circumstances to seal information appended to

3    dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

4    Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

5    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

6    Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

7    should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

8    Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

9    Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to
10   seal “because the request is narrowly tailored and only includes confidential information”).
11                                                   DISCUSSION
12          Apple seeks to seal personally identifiable information and competitively sensitive, non-public
13   information regarding Apple’s engagement of certain outside legal counsel in the privilege log submitted
14   as an exhibit to Apple’s Objections. See Perry Decl. ¶ 5.
15          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns
16   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public
17   has less of a need for access to court records attached only to non-dispositive motions because those
18   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.
19   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning
20   discovery generally are considered nondispositive of the litigation”) (quotation omitted); see also In re
21   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018
22   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).
23          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL 3049450,
24   at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple’s limited
25   proposed redactions protect against the harmful disclosure of Apple’s internal business decision-making.
26   See DNA Genotek Inc., 2023 WL 4335734, at *2 (finding good cause where disclosure would “undercut”
27   a party’s “position … in the marketplace”); Apple Inc., 2024 WL 1204115, at *1. Apple operates in an
28   intensely competitive environment, and thus has taken extensive measures to protect the confidentiality


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1    of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information relating to the confidential

2    engagement of outside counsel could harm Apple’s business interests. Id. ¶ 3. Courts in this district have

3    found not only good cause, but compelling reasons exist to seal personally identifiable information. See

4    Snapkeys, 2021 WL 1951250, at *3 (granting motion to file under seal personally identifiable

5    information, including email addresses and telephone numbers of current and former employees); see

6    also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons

7    to seal personally identifying information of employees, including names, addresses, phone numbers,

8    and email addresses). Here, certain entries in the privilege log reveal personally identifiable information.

9    Good cause exists to protect this information.
10          Moreover, Apple has narrowly tailored its sealing request to include only the information
11   necessary to protect this personally identifiable information. See Perry Decl. ¶ 6; Krommenhock v. Post
12   Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited”
13   information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–*3
14   (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored redactions”); Dkt.
15   No. 643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when redactions were
16   “narrowly tailored” to “sensitive and confidential information”). Apple has only partially redacted
17   limited information within the privilege log entries. See Perry Decl. ¶ 6.
18          For the foregoing reasons, there is good cause that warrants partially sealing the exhibit to
19   Apple’s Objections.
20                                                    CONCLUSION
21          Apple respectfully requests that the Court seal the information identified in the accompanying
22   declaration.
23

24   Dated: April 18, 2025                                    Respectfully submitted,
25                                                            By: /s/ Mark A. Perry
                                                                      Mark A. Perry
26

27                                                            WEIL, GOTSHAL & MANGES LLP

28                                                            Attorney for Apple Inc.

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